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                               UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF COLORADO

     In re:                                          )
                                                     )
     CASCADE INTEGRATED                              )           Case No. 15-23704 -HRT
     SERVICES, LLC,                                  )
                                                     )           Chapter 11
     EIN: 260252384                                  )
            Debtor.                                  )


         ORDER CONFIRMING SECOND MODIFIED PLAN OF LIQUIDATION OF
         CASCADE INTEGRATED SERVICES, LLC UNDER CHAPTER 11 OF THE
                            BANKRUPTCY CODE


         THIS MATTER came before the Court for confirmation upon the Second Modified Plan
 of Liquidation of Cascade Integrated Services, LLC under Chapter 11 of the Bankruptcy Code (the
 “Plan”) [Dkt. No. 225], filed by Cascade Integrated Services, LLC, the debtor and debtor-in-
 possession (the “Debtor”). The Court, having considered the Plan; the Declaration Under Penalty
 of Perjury of Robert Pelham in Lieu of Direct Testimony in Support Second Modified Plan of
 Liquidation of Cascade Integrated Services, LLC under Chapter 11 of the Bankruptcy Code [Dkt.
 No. 257]; the Debtor’s Report Regarding (i) Status of Objections to Plan and (ii) Results of Voting
 on Plan [Dkt. No. 253]; that the Debtor has timely complied with the Court’s Order Approving
 Disclosure Statement and Setting Confirmation Hearing (the “Order”) [Dkt. No. 218] by
 adequately serving that Order, the Plan and the Disclosure Statement,1 and ballots; that no
 objections have been timely filed to the Plan; and being otherwise fully advised in the premises,
 finds good cause to confirm the Plan. Accordingly, the Court finds and ORDERS as follows:

         1.     The Plan complies with all applicable provisions of Chapter 11 of Title 11 of the
 United States Code (the “Bankruptcy Code”), see 11 U.S.C. § 1129(a)(1), the Plan meets the
 requirements of sections1122 and 1123 of the Bankruptcy Code, and the Debtor has complied with
 section 1125 of the Bankruptcy Code.

       2.      The Debtor has complied with all applicable provisions of Chapter 11 of the
 Bankruptcy Code, and the Plan has been proposed in good faith and the Plan is not proposed by
 any means forbidden by law. See 11 U.S.C. §§ 1129(a)(2) and (a)(3).

        3.      Any payment of costs and expenses in or in connection with the case, or in
 connection with the Plan and incident to the case, has been approved by or is subject to the approval
 of the Court as reasonable and which shall not be paid until the Court approves such costs and
 expenses (including any processional fees and costs). See 11 U.S.C. § 1129(a)(4).
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          Terms not defined herein shall have the meanings ascribed to such terms in the Plan.
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        4.     The insiders are disclosed with respect to the Debtor’s post-confirmation activities.
 See 11 U.S.C. § 1129(a)(5).

        5.       Section 1129(a)(6) of the Bankruptcy Code is inapplicable because there are no
 governmental regulatory commissions with jurisdiction which, after confirmation of the Plan,
 oversee the rates of the Debtor that need to approve any rate change and no rate change is expressly
 conditioned on any such approval.

         6.      With respect to each impaired Class of Claims or Equity Interests, each holder of a
 Claim or Equity Interest has either accepted the Plan, has been deemed to have accepted the Plan,
 or will receive or retain under the Plan on account of such Claim or Equity Interest, property of a
 value, as of the Effective Date of the Plan, that is not less than the amount that such holder would
 so receive or retain if the Debtor were liquidated under Chapter 7 of the Bankruptcy Code on such
 date. See 11 U.S.C. § 1129(a)(7).

        7.      Each Class of Claims and Equity Interests in the Plan (i) has been deemed to have
 accepted the Plan, (ii) voted to accept the Plan, or (iii) shall be “crammed down” because the Plan
 does not discriminate unfairly and is fair and equitable, as more specifically stated below. See 11
 U.S.C. §§ 1129(a)(8) and 1129(b)(1) and (b)(2).

                  a.      Class 1 – Priority Non-Tax Claims. The holders of Claims in Class 1
          (Priority Non-Tax Claims) are unimpaired by the Plan. As a result, holders of Claims in
          that Class are conclusively presumed to have accepted the Plan pursuant to section 1126(f)
          of the Bankruptcy Code.

                  b.     Class 2 – General Unsecured Claims. The holders of Claims in Class 2
          (General Unsecured Claims) are impaired by the Plan. This Class of Claims has voted to
          accept the Plan with at least two-thirds in amount and more than one-half in number either
          voting to accept the Plan.

                 c.      Class 3 – Equity Interests. The holders of Equity Interests in Class 3
          (Equity Interests) are unimpaired by the Plan. As a result, holders of Interests in that
          Class are conclusively presumed to have accepted the Plan pursuant to section 1126(f) of
          the Bankruptcy Code.


        8.      Except to the extent that the holder of a particular Claim has agreed to a different
 treatment of such Claim, the Plan provides that:

                  a.     with respect to a Claim of a kind specified in sections 507(a)(2) or 507(a)(3)
          of the Bankruptcy Code, on the Effective Date of the Plan, the holder of such Claim will
          receive on account of such Claim cash equal to the allowed amount of such Claim;

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                 b.     with respect to a Class of Claims of a kind specified in sections 507(a)(1),
          507(a)(4), 507(a)(5), 507(a)(6), or 507(a)(7) of the Bankruptcy Code, each holder of a
          Claim of such Class will receive:

                        i.      if such Class has accepted the Plan, deferred cash payments of a
                                value, as of the Effective Date of the Plan, equal to the allowed
                                amount of such Claim; or

                       ii.      if such Class has not accepted the Plan, cash on the Effective Date
                                equal to the allowed amount of such Claim;

                  c.     with respect to a Claim of a kind specified in section 507(a)(8) of the
          Bankruptcy Code, the holder of such Claim will receive on account of such Claim regular
          installment payments in cash:

                        i.      of a total value, as of the Effective Date of the Plan, equal to the
                                allowed amount of such Claim;

                       ii.      over a period ending not later than 5 years after the date of the order
                                for relief under sections 301, 302 or 303 of the Bankruptcy Code;
                                and

                      iii.      in a manner not less favorable than the most favored nonpriority
                                unsecured claim provided for by the Plan (other than cash payments
                                made to a class of creditors under section 1122(b) of the Bankruptcy
                                Code); and

                  d.      with respect to a Secured Claim which would otherwise meet the description
          of an unsecured claim of a governmental unit under section 507(a)(8), but for the secured
          status of that Claim, the holder of that Claim will receive on account of that Claim, cash
          payments, in the same manner as prescribed in 11 U.S.C. § 1129(a)(9)(C).

        9.      At least one impaired Class has voted to accept the Plan, determined without
 including any acceptances or the Plan by any insider. See 11 U.S.C. § 1129(a)(10).

          10.    The Plan calls for the liquidation of all of Cascade’s assets that are capable of being
 monetized. All assets that have not yet been liquidated by Cascade as the debtor in possession
 herein will be liquidated by the Trustee under the Liquidating Trust established under the Plan.
 Cascade will continue its corporate existence, but will not retain any assets other than the Master
 Service Agreements listed on “Exhibit A” of the Disclosure Statement. Confirmation of the Plan
 is not likely to be followed by the need for further financial reorganization of Cascade as it will
 not recommence business operations, if at all, until market conditions so warrant. See 11 U.S.C.
 § 1129(a)(11).

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        11.    All fees payable under 28 U.S.C. § 1930 have been paid or the Plan provides for
 the payment of all such fees on the Effective Date of the Plan. See 11 U.S.C. § 1129(a)(12).

        12.     Section 1129(a)(13) of the Bankruptcy Code is inapplicable because the Debtor
 does not provide for retirement benefits.

        13.      Section 1129(a)(14) of the Bankruptcy Code is inapplicable because the Debtor is
 not subject to a judicial or administrative order, or by statute, to pay a domestic support obligation.

         14.    Section 1129(a)(15) of the Bankruptcy Code is inapplicable because the Debtor is
 not an individual.

         15.     Section 1129(a)(16) of the Bankruptcy Code is inapplicable because the Debtor is
 a for-profit entity.

         16.     As of the Effective Date, the property of the Debtor and of the Estate shall be
 transferred to and vest in the Cascade Integrated Services, LLC Liquidating Trust, except as provided
 in and subject to the terms of the Plan.

         17.     From and after the Effective Date, the Debtor may operate its business and may use,
 acquire, and dispose of its assets and property free of any restrictions of the Bankruptcy Code, but in
 accordance with the provisions of the Plan.

          18.    As of the Effective Date, all assets of the Debtor and the Estate shall be free and clear
 of all Claims, Liens, encumbrances, charges, and other interests, except as provided in the Plan or this
 Order.

          19.     Except as otherwise provided in section 1141(d)(3) of the Bankruptcy Code, and to the
 fullest extent permitted by section 1141 of the Bankruptcy Code, on and after the Effective Date, the
 provisions of the Plan shall bind any holder of a Claim against, or Equity Interest in, the Debtor or the
 Estate and their respective successors and assigns, whether or not the Claim or Equity Interest of such
 holder is impaired under the Plan and whether or not such holder has accepted the Plan.

          20.      Upon the Effective Date, except as otherwise expressly provided herein, each holder
 (as well as any trustees and agents on behalf of each holder) of a Claim or Equity Interest and any
 Affiliate of such holder shall be deemed to have forever waived, released, and discharged the Debtor,
 to the fullest extent permitted by section 1141 of the Bankruptcy Code, of and from any and all Claims,
 Causes of Action, interests, rights, and liabilities that arose prior to the Confirmation Date and, upon
 the Effective Date, all such persons shall be forever precluded and enjoined, pursuant to section 524
 of the Bankruptcy Code, from prosecuting any Causes of Action or asserting any such discharged
 Claim as a personal liability of the Debtor.

           21.    Subject to the occurrence of the Effective Date, this Order shall constitute a release,
 discharge, and forgiveness of all claims, demands, or Causes of Action which the Debtor, as debtor-
 in-possession, or the Estate holds or is entitled to prosecute on behalf of any other party against the
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 Debtor, its agents, attorneys, or other professionals and all of their respective shareholders, managers,
 members, officers, directors, employees, agents, advisors, consultants, successors, and assigns in
 connection with or related to the Chapter 11 Case or the operations of the Debtor’s business during the
 Chapter 11 Case, including, but not limited to, (a) formulating, preparing, disseminating,
 implementing, confirming, consummating, or administrating the Plan (including soliciting acceptances
 or rejections thereof); (b) the Disclosure Statement or any contract, instrument, release, or other
 agreement or document entered into or any action taken or omitted to be taken in connection with the
 Plan; or (c) any distributions made pursuant to the Plan, except for acts constituting willful misconduct
 or gross negligence, and in all respects such parties shall be entitled to rely upon the advice of counsel
 with respect to their duties and responsibilities under the Plan.

         22.      Except as set forth in the Plan, all persons or entities who have held, hold, or may hold
 Claims against or Equity Interests in the Debtor or the Estate and other parties in interest, along with
 their respective present or former employees, agents, officers, directors, or principals, shall be
 permanently enjoined, on and after the Effective Date, with respect to Claims released under the Plan
 and all Claims and Equity Interests against the Debtor or the Estate, from (a) commencing, conducting,
 or continuing in any manner, directly or indirectly, any suit, action, or other proceeding of any kind
 (including, without limitation, any proceeding in a judicial, arbitral, administrative, or other forum)
 against or affecting the Debtor, the Estate, or their property; (b) enforcing, levying, attaching
 (including, without limitation, any prejudgment attachment), collecting, or otherwise recovering by
 any manner or means, whether directly or indirectly, any judgment, award, decree, or order against the
 Debtor, the Estate, or their property; (c) creating, perfecting, or otherwise enforcing in any manner,
 directly or indirectly, any encumbrance of any kind against the Debtor, the Estate, or their property;
 (d) asserting any right of setoff or recoupment, directly or indirectly, against any obligation due the
 Debtor, the Estate, or any of their property, except as contemplated or allowed by the Plan; (e) acting
 or proceeding in any manner, in any place whatsoever, that does not conform to or comply with the
 provisions of the Plan; (f) commencing, continuing, or asserting in any manner any action or other
 proceeding of any kind with respect to any Claims and Causes of Action that are extinguished or
 released pursuant to the Plan; and (g) taking any actions to interfere with the implementation or
 consummation of the Plan.

        23.    To the extent not addressed herein, the Plan otherwise meets the requirements for
 confirmation specified under § 1129 of the Bankruptcy Code.

          24.       The Plan is hereby CONFIRMED.

          Dated this 25th day of July, 2016.

                                                 BY THE COURT:


                                                 _____________________________________
                                                 Howard R. Tallman, Judge
                                                 United States Bankruptcy Court

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